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                           1                      UNITED STATES DISTRICT COURT
                           2                     CENTRAL DISTRICT OF CALIFORNIA
                           3                                  SOUTHERN DIVISION
                           4
                           5   SPEX TECHNOLOGIES, INC.,
                                                                      Case No. 8:16-CV-01790-JVS-AGR
                           6                     Plaintiff,
                           7                                          CORRECTED SECOND JOINT
                               v.                                     RULE 26(F) REPORT
                           8
                           9   KINGSTON TECHNOLOGY
                               CORPORATION, KINGSTON                  Scheduling Conference:
                          10   DIGITAL, INC., KINGSTON
                          11   TECHNOLOGY COMPANY, INC.,              July 1, 2019 at 10:30 a.m.
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                               IMATION CORPORATION,                   Before: The Hon. James V. Selna
                          12   DATALOCKER INC., DATA
                          13   LOCKER INTERNATIONAL, LLC,
                          14                     Defendants.
                          15
                          16   SPEX TECHNOLOGIES, INC.,
                                                                      Case No. 8:16-CV-01799-JVS-AGR
                                            Plaintiff,
                          17
                          18   v.
                          19
                               WESTERN DIGITAL
                          20   CORPORATION, WESTERN
                               DIGITAL TECHNOLOGIES, INC.,
                          21
                               HGST, INC.,
                          22
                                                 Defendants.
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                           1   SPEX TECHNOLOGIES, INC.,
                                                                     Case No. 2:16-CV-07349-JVS-AGR
                           2                     Plaintiff,
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                               v.
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                           5   APRICORN, INC.,

                           6                     Defendant.
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                                              CORRECTED SECOND JOINT 26(F) REPORT
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                           1           Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, Local Rule 26-
                           2    1, and the Court’s May 17, 2019 Order Setting Rule 26(f) Scheduling Conference,
                           3    Plaintiff SPEX Technologies, Inc. (“SPEX” or “Plaintiff”) and Defendants Western
                           4    Digital Corporation, Western Digital Technologies, Inc., and HGST, Inc. (together
                           5    “Western Digital Defendants”), Kingston Technology Corporation, Kingston Digital
                           6    Inc., and Kingston Technology Company, Inc., (together, “Kingston Defendants”),
                           7    and   Apricorn     (“Apricorn”)     (collectively,   “Defendants”)   (“Plaintiff”   and
                           8    “Defendants” are collectively referred to as the “Parties”), by and through their
                           9    respective counsel of record, conferred, starting on June 5, 2019, and discussed the
                          10    various procedural and substantive matters pertinent to the instant litigation and
                          11    hereby jointly submit this Second Joint Rule 26(f) Report.
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                          12    I.     SYNOPSIS
                          13           Plaintiff’s statement: Plaintiff refers to the original Joint 26(f) Report. This
                          14    is a continuation of a patent litigation action filed on September 28, 2016, and stayed
                          15    on May 5, 2018 pending Inter Partes Review proceedings (“IPRs”) started by
                          16    Defendants. As a result of the IPRs, the PTAB found that claims 1, 2, 6, 7, 11, 12,
                          17    23, 24, and 25 of the ’802 patent were not unpatentable, and that claims 55, 56, and
                          18    57 of the ‘135 patent were not unpatentable.
                          19           Plaintiff believes the stay should not be reinstituted for the same reasons
                          20    expressed in the Joint Status Report Regarding Termination of Inter Partes Review
                          21    Proceedings and Request for a Status Conference. Defendants’ appeals of the PTAB
                          22    decisions and ruling are unlikely to succeed, and reinstating a stay at this time is not
                          23    likely to simplify the pending litigations, and is prejudicial to SPEX. Indeed, as
                          24    illustrated by Kingston’s statement below, the litigation has only grown more
                          25    complex, not less, as a result of the first stay.
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                           1           With respect to the arguments in Kingston’s statement1 regarding additional
                           2    claims it intends, Kingston’s arguments appear to be the same arguments that were
                           3    rejected by the PTAB during the now concluded IPR proceedings, and that it is now
                           4    raising in its three appeal briefs. To the extent that Kingston requests to bring
                           5    additional counterclaims and/or affirmative defenses, Kingston should file a
                           6    regularly noticed motion for leave to amend its pleading. Moreover, Kingston has
                           7    not disclosed to SPEX the additional claims it intends to seek to add to the case, or
                           8    why Kingston believes that good cause exists for its new claims given the current
                           9    status of the litigation (e.g., fact and expert discovery having long since closed). Nor
                          10    has Kingston provided SPEX with a draft amended pleading as is common practice
                          11    when a party seeks to amend, or at least engages in a meaningful meet and confer
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                          12    process to address that possibility. SPEX’s proposed schedule nevertheless accounts
                          13    for Kingston filing a regularly noticed motion for leave to amend its pleading.
                          14           Kingston Statement: This is a patent infringement case brought by SPEX
                          15    Technologies, Inc. (“SPEX”). SPEX alleges that Kingston Technology Corporation,
                          16    Kingston Digital, Inc., and Kingston Technology Company, Inc. (together
                          17    “Kingston”) infringe various claims of U.S. Patent Nos. 6,088,802 (the “’802
                          18    patent”) and U.S. Patent No. 6,003,135 (the “’135 patent”) (together “the patents-in-
                          19    suit”). In its original answer, Kingston denied infringement and asserted affirmative
                          20    defenses, including (among others) non-infringement of the patents-in-suit and
                          21    invalidity of the patents-in-suit.
                          22           As the Court is aware, the case is currently stayed pending inter partes review
                          23    of the patents-in-suit. Specifically, Kingston challenged the patentability of the
                          24    asserted claims of the ’135 patent before the PTO, resulting in a Final Written
                          25    Decision by the Patent Trial and Appeal Board finding claim 58 unpatentable but
                          26    1
                                  Although the meet and confer regarding this report was begun on June 5, 2019, Kingston withheld
                          27    its intention to seek to add additional claims until shortly before this report was due. As such,
                                SPEX has not been afforded the opportunity to understand the claims Kingston’s intends to bring.
                          28    SPEX has nonetheless responded to Kingston’s new position as best it can given the limited
                                information available.
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                           1    finding claims 55–57 to not have been shown to be unpatentable. Kingston has
                           2    appealed that decision, and a decision from the United States Court of Appeals for
                           3    the Federal Circuit can be expected in late 2019 or early 2020. Additionally,
                           4    Kingston, along with the other defendants in the related cases brought by SPEX,
                           5    challenged the patentability of the asserted claims of the ’802 patent, resulting in a
                           6    Final Written Decision finding claims 38 and 39 unpatentable but finding claims 1,
                           7    2, 6, 7, 11, 12, 23, 24, and 25 of the ’802 patent not unpatentable. That decision is
                           8    also on appeal to the Federal Circuit. Lastly, Kingston sought additional review of
                           9    the ’135 patent by the Patent Office, filing a request to join an IPR brought by the
                          10    other defendants. The Patent Office denied Kingston’s request for joinder, and
                          11    Kingston has appealed that decision. In an effort to circumvent that appeal, and to
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                          12    preclude further review of the ’135 patent by the Patent Office, SPEX settled its
                          13    claims relating to the ’135 patent with the other defendants, leaving Kingston as the
                          14    only remaining defendant against whom the ’135 patent is asserted.
                          15          Kingston believes that the stay should remain in place while the appeals from
                          16    the various IPRs are concluded. As demonstrated above, numerous actions remain
                          17    pending and their outcomes could impact the validity of every asserted claim in the
                          18    case. Should the stay be lifted, however, SPEX’s schedule should not be granted.
                          19    Kingston will seek to amend its answer and assert counterclaims which have arisen
                          20    out of plaintiff SPEX’s conduct in pursuing this case and during the Patent Office’s
                          21    review of the patents-in-suit.    Specifically, Kingston will assert that SPEX is
                          22    pursuing this litigation in bad faith in light of admissions made by its expert during
                          23    deposition and the findings of the Patent Office during the IPRs. Accordingly,
                          24    Kingston proposes a schedule below to accommodate amended pleadings and
                          25    additional discovery relating to the counterclaims and additional affirmative
                          26    defenses it will seek to bring. Moreover, SPEX’s proposed schedule is unworkable
                          27    for Kingston because Joanna Fuller, attorney for Kingston in this matter, has already
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                           1    paid for overseas travel to Croatia from November 24 through December 4, 2019,
                           2    making her unavailable during the lead up to SPEX’s proposed trial date.
                           3          Western Digital and Apricorn Defendants’ Statement: Western Digital and
                           4    Apricorn fully agree with the other Defendants that the stay of this case remain
                           5    pending the outcome of related appeals and any remand to the PTAB for further IPR
                           6    proceedings. As explained in the Joint Status Report Regarding Termination of Inter
                           7    Partes Review Proceedings and Request for a Status Conference, filed in each of the
                           8    above-captioned cases on May 13, 2019, Defendants request that the Court continue
                           9    the stay pending resolution of their appeals.         As a result of Court’s Claim
                          10    Construction Order and the IPRs, Plaintiff’s cases against the Western Digital and
                          11    Apricorn Defendants have been reduced to only four patent claims (Claims 1, 2, 11,
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                          12    and 12 of the ’802 Patent). Although the PTAB did not find Claims 1, 2, 11, and 12
                          13    of the ’802 Patent to be unpatentable in view of the arguments that it considered, the
                          14    PTAB declined to consider critical admissions from Plaintiff’s experts that were
                          15    made after the IPR Petition was filed. As Defendants explained in the Joint Status
                          16    Report, Defendants’ respective appeals raise concerns regarding due process, as well
                          17    as questions regarding the availability of prior art in district court litigation.
                          18    Consequently, allowing the case to proceed now would greatly increase the
                          19    likelihood that judicial resources will be wasted on motion practice and trials on
                          20    issues that either will or should be resolved by the Federal Circuit or the PTAB on
                          21    remand.
                          22    II.   LEGAL ISSUES
                          23          The court has already ruled on claim construction.           Accordingly, the
                          24    remaining principal issues are likely to be as follows:
                          25          1. Whether Kingston has infringed claims 1, 2, 11, and 12 of the ’802 Patent
                          26              in violation of 35 U.S.C. § 271(a) and claims 55 and 57 of the ’135 Patent
                          27              in violation of 35 U.S.C. §§ 271(a), (b);
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                           1           2. Whether Western Digital and Apricorn Defendants have infringed claims
                           2              1, 2, 11, and 12 of the ’802 Patent in violation of 35 U.S.C. § 271(a);
                           3           3. Whether the patents-in-suit meet the conditions for patentability and
                           4              satisfy all of the requirements set forth in the provisions of 35 U.S.C. §§
                           5              101, 102, 103, and 112;
                           6           4. If the patent is infringed and valid, the amount, if any, of SPEX’s damages
                           7              under 35 U.S.C. § 284;
                           8           5. Whether attorneys’ fees, costs, or expenses are recoverable under 35
                           9              U.S.C. §§ 284 and/or 285; and
                          10           6. Whether SPEX has complied with 35 U.S.C. § 287(a).
                          11           Kingston Matter Only:
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                          12           Kingston also notes that additional issues will require resolution should the
                          13    Court grant Kingston leave to amend its pleadings, as discussed above. SPEX
                          14    disagrees that Kingston’s additional issues are appropriate.
                          15    III.   DAMAGES
                          16           Plaintiff’s statement: SPEX has served an expert report regarding damages in
                          17    each case. The reports are based on Defendants’ confidential information and cannot
                          18    be publicly filed. SPEX disagrees that Defendants are entitled to attorney’s fees,
                          19    costs, and expenses. SPEX further disagrees that Kingston is entitled to any
                          20    “additional damages” for its as yet unstated additional claims.
                          21           Defendants’ statement:      Defendants deny that SPEX is entitled to any
                          22    damages in this case. Defendants have served expert reports regarding damages;
                          23    however as these reports are based on Defendants’ confidential information, they
                          24    cannot be publicly filed. Defendants also assert that they are entitled to reasonable
                          25    attorney’s fees, costs, and expenses in this case. As the case is ongoing, Defendants
                          26    cannot provide the anticipated range of such fees and costs.
                          27           Kingston’s additional statement: Kingston fully joins with the statement set
                          28    forth by defendants forth above. In addition, Kingston will be seeking additional
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                           1    damages should the Court grant leave for Kingston to amend its answer to assert
                           2    counterclaims.
                           3    IV.     INSURANCE
                           4            The Parties are unaware of any insurance coverage relating to the subject
                           5    matter of this litigation.
                           6    V.      MOTIONS TO ADD PARTIES, AMEND PLEADINGS OR
                           7            TRANSFER VENUE
                           8            Other than as stated herein, there will be no such motions.
                           9    VI.     DISCOVERY PLAN
                          10            Other than the Toshiba case, discovery is complete, and the parties do not
                          11    expect to take additional discovery in the Western Digital or Apricorn cases.
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                          12            With respect to the Toshiba case, SPEX and Toshiba request that the Court
                          13    not alter the limits originally adopted prior to the stay. SPEX and Toshiba propose
                          14    that the Court adopt the schedule regarding expert discovery as filed in the Toshiba
                          15    case.
                          16            Kingston Matter Only: Should another stay not be ordered, as noted above,
                          17    Kingston will seek leave to amend its answer to assert counterclaims and additional
                          18    affirmative defenses arising from SPEX’s conduct relating to prosecuting this case
                          19    and its actions during the inter partes reviews. Kingston expects that additional
                          20    discovery will be needed on the following topics:
                          21               • SPEX’s knowledge of the determinations of the Patent Trial and
                          22                   Appeal Board;
                          23               • SPEX’s beliefs concerning the validity of the claims it continues to
                          24                   assert in this litigation;
                          25               • SPEX’s knowledge concerning statements made by its expert in
                          26                   deposition;
                          27               • SPEX’s knowledge of the content of its technical expert reports
                          28                   concerning infringement and validity;
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                           1                • SPEX’s understanding of the scope of the claims of the ’135 and ’802
                           2                   patents;
                           3                • SPEX’s attempts to monopolize the market for hardware-encrypted
                           4                   storage;
                           5                • The validity of the remaining asserted claims.
                           6         Kingston does not expect there to be a need for additional written discovery.
                           7    Kingston does, however, anticipate one additional 30(b)(6) deposition of a SPEX
                           8    witness will be required, along with additional expert reports and expert depositions,
                           9    solely to address the counterclaims and additional affirmative defenses raised by
                          10    Kingston.
                          11         As SPEX has been left to speculate as to the basis and scope of Kingston’s
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                          12    proposed untimely new claims, SPEX cannot determine the discovery it may require
                          13    to respond to any additional claims. Nevertheless, Kingston appears to intend to
                          14    greatly expand this case to address, for instance, “monopolizing the market for
                          15    hardware-encrypted storage,” SPEX expects that it may be required to serve
                          16    additional written discovery, including potential third party discovery to competitors
                          17    in the hardware-encrypted storage market, take multiple fact depositions, and engage
                          18    in new expert discovery. SPEX further notes that the additional discovery identified
                          19    by Kingston is likely to trigger motion practice as Kingston’s proposed discovery
                          20    topics seek discovery of privileged information, such as discussions between counsel
                          21    and SPEX regarding infringement and validity during the litigation and the IPR
                          22    proceedings.
                          23    VII. DISPOSITIVE MOTIONS
                          24          Plaintiff’s Position:   SPEX anticipates it may file multiple motions for
                          25    summary judgment or adjudication regarding discrete issues regarding Defendants’
                          26    affirmative defenses and counterclaims, including but not limited to Defendants’
                          27    invalidity affirmative defenses, estoppel as a result of the IPRs, and other defenses
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                        1    and claims. SPEX anticipates that it will file motions in limine but does not yet
                        2    know what the topics will be.
                        3             Defendants’ Position: Defendants anticipate that they may file multiple
                        4    motions for summary judgment and/or partial summary judgment, including
                        5    (without limitation) seeking judgment that certain asserted claims are not infringed
                        6    and/or are invalid as a matter of law. Defendants will additionally file motions in
                        7    limine, but do not yet know what the topics of those motions will be.
                        8             Western Digital and Apricorn Defendants’ Position: Western Digital and
                        9    Apricorn agree with the Defendants’ Position stated above. They anticipate filing
                       10    motions for summary judgment of noninfringement on multiple grounds of the
                       11    remaining patent claims asserted against them – means-plus-function claims 1, 2, 11
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                       12    and 12 of the ’802 patent. If granted, these motions would be case dispositive as to
                       13    the Western Digital and Apricorn cases.
                       14    VIII. STATEMENT REGARDING SETTLEMENT DISCUSSIONS
                       15             The Parties have had settlement discussions, including mediation for some of
                       16    the litigation, but have not been successful in settling each currently pending case.
                       17    Any remaining mediations will be scheduled in accordance with the Court’s Local
                       18    Rules.
                       19    IX.      TRIAL
                       20             The Parties request a jury trial on issues to which a party is entitled to a jury.
                       21             Plaintiff’s statement: SPEX expects to call between 4 and 8 witnesses at each
                       22    trial and expects each trial will last five to seven days.
                       23             Western Digital Defendants’ statement: The Western Digital Defendants
                       24    estimate that trial will be seven days and expect to call between 8 and 12 witnesses
                       25    in their individual trial.
                       26             Kingston’s Defendants’ statement: The Kingston Defendants expect to call
                       27    between 4 and 8 witnesses in their individual trial.
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                        1          Apricorn’s statement: Defendant Apricorn estimates that trial will be six to
                        2    seven days and expects to call between 6 and 9 witnesses in its individual trial.
                        3    X.    TIMETABLE
                        4          Plaintiff’s Proposal:
                        5          For the Western Digital and Apricorn matters, Plaintiff proposes the schedule
                        6    in Exhibit A, which accounts for counsel’s availability as well as the year-end
                        7    holidays. Additionally, in light of the current status of the case, Plaintiff proposes
                        8    the following extended briefing schedule for the motions for summary judgment to
                        9    allow the parties additional time to respond.
                       10     File Motions for Full or Partial              8/9/19
                       11     Summary Judgment
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                       12     File Oppositions to Motions for Full or       9/6/19
                       13     Partial Summary Judgment
                       14     File Replies to Motions for Full or           9/20/19
                       15     Partial Summary Judgment
                       16          For the Kingston case, Plaintiff proposes that Kingston file a regularly-noticed
                       17    motion to address its intended amendments to its Answer. If the motion is denied,
                       18    the Kingston case can proceed along the same motion for summary judgment and
                       19    trial schedule to be entered in the Toshiba case. If the motion is granted, the parties
                       20    can negotiate a new schedule to address the additional discovery necessary to
                       21    address Kingston’s new claims. As addressed above, given the limited information
                       22    currently available to Plaintiff, it cannot propose a schedule to accommodate
                       23    Kingston’s potential new claims.
                       24          Kingston Position: As Kingston will seek leave to amend its answer so as to
                       25    bring counterclaims and additional defenses, Kingston cannot agree to the dates set
                       26    forth above by Plaintiffs. Kingston also notes that Joanna Fuller, attorney for
                       27    Kingston in this matter, has already paid for overseas travel to Croatia from
                       28    November 24 through December 4, 2019, making her unavailable during the lead up
                                                                        9
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                        1    to SPEX’s proposed trial date. Therefore, Kingston proposes the schedule as stated
                        2    in Exhibit B.
                        3          Western Digital and Apricorn Defendants’ Position: Western Digital and
                        4    Apricorn Defendants consent to the schedule proposed by Kingston as stated in
                        5    Exhibit B. Alternatively, Western Digital and Apricorn Defendants propose the
                        6    alternative schedule attached as Exhibit A. This proposal adjusts Plaintiff’s proposal
                        7    in view of a trial Western Digital’s counsel have in October and in view of the
                        8    November and December holidays.
                        9    XI.   OTHER ISSUES
                       10          Other than the disclosures in the original Joint 26(f) Report, the Parties do not
                       11    have any further issues to disclose.
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                       12    XII. CONFLICTS
                       13          Plaintiff: SPEX does not have a parent corporation and no publicly held
                       14    corporation owns 10% or more of its stock.
                       15          Western Digital Defendants: The Western Digital Defendants identify the
                       16    following parties:
                       17             • Western Digital Corporation: A named defendant and publicly held
                       18                    company having no parent corporation or other publicly held
                       19                    corporation owning more than 10% of its stock.
                       20             • Western Digital Technologies, Inc.: A named defendant and wholly
                       21                    owned subsidiary of Western Digital Corporation.
                       22             • HGST, Inc.: A named defendant and wholly owned subsidiary of
                       23                    Western Digital Technologies, Inc.
                       24          Kingston Defendants: Kingston Digital, Inc., and Kingston Technology
                       25    Company, Inc. are wholly owned subsidiaries of Kingston Technology Corporation,
                       26    which is a privately held corporation. No public corporation owns 10% or more of
                       27    Kingston Technology Corporation.
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                        1          Apricorn:    Apricorn has no parent corporation, and no publicly held
                        2    corporation owns 10% or more of its stock.
                        3    XIII. PATENT CASES
                        4          The Court has already conducted the claim construction hearing and issued its
                        5    claim construction order.
                        6    XIV. MAGISTRATES
                        7          The Parties do not consent to proceeding in front of a magistrate.
                        8
                        9
                       10     Dated: June 26, 2019               Respectfully submitted,
                       11                                        RUSS AUGUST & KABAT
RUSS, AUGUST & KABAT




                       12                                        By:        /s/ Paul A. Kroeger
                                                                            Paul A. Kroeger
                       13
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                                                                 Benjamin T. Wang (CA SBN 228712)
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                       21
                                                                 Attorneys for Plaintiff
                       22                                        SPEX Technologies, Inc.
                       23
                              Dated: June 26, 2019               GIBSON DUNN & CRUTCHER
                       24
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                       26
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                                            CORRECTED SECOND JOINT 26(F) REPORT
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                                                        #:2741


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                        5                                     Facsimile: 949.451.4220

                        6                                     Attorneys for Defendants
                        7                                     WESTERN DIGITAL CORPORATION,
                                                              WESTERN DIGITAL TECHNOLOGIES,
                        8                                     INC., and HGST, INC.
                        9     Dated: June 26, 2019            FISH & RICHARDSON P.C.
                       10                                     By: /s/ David Hoffman (by permission)
                       11                                     David Hoffman (pro hac vice)
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                                           CORRECTED SECOND JOINT 26(F) REPORT
                       Case 8:16-cv-01790-JVS-AGR Document 167 Filed 06/26/19 Page 15 of 15 Page ID
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                                                      CERTIFICATE OF SERVICE
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